  Filed 01/17/18                                               Case 14-23526                                                 Doc 91
                   GEOFFREY M. RICHARDS
                   Bankruptcy Trustee
                   P.O. Box 579
                   Orinda, CA 94563
1A
 101-7-NFR
 /2009
 /2010
 2ems Inc.         (916) 288-8365
                                      UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF CALIFORNIA
                                           SACRAMENTO DIVISION

                  In re:                                            §
                                                                    §
                  DEAN, PEGGY ANNETTE                               §        Case No. 14-23526
                                                                    §
                                      Debtor                        §

                                                    NOTICE OF TRUSTEE’S FINAL REPORT AND
                                                      APPLICATIONS FOR COMPENSATION
                                                        AND DEADLINE TO OBJECT (NFR)

                          Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that Geoffrey
                  Richards, trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s
                  professionals have filed final fee applications, which are summarized in the attached Summary of
                  Trustee's Final Report and Applications for Compensation.

                          The complete Final Report and all applications for compensation are available for inspection at
                  the Office of the Clerk, at the following address:
                                                        UNITED STATES BANKRUPTCY COURT
                                                        CLERK OF THE COURT
                                                        ATTN: FINANCE
                                                        501 I STREET, SUITE 3-200
                                                        SACRAMENTO, CA 95814

                          Any person wishing to object to any fee application that has not already been approved or
                  to the Final Report, must file a written objection within 20 days from the mailing of this notice,
                  together with a request for a hearing and serve a copy of both upon the trustee, any party whose
                  application is being challenged and the United States Trustee. If no objections are filed, the Court
                  will act on the fee applications and the trustee may pay dividends pursuant to FRBP 3009 without
                  further order of the Court.

                  Date Mailed: 11/21/2017                                 By: /s/Geoffrey Richards
                                                                                          Bankruptcy Trustee


                  Geoffrey Richards
                  Chapter 7 Bankruptcy Trustee
                  PO Box 579
                  Orinda, CA 94563




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                                                     UNITED STATES BANKRUPTCY COURT
                                                      EASTERN DISTRICT OF CALIFORNIA
                                                          SACRAMENTO DIVISION


             In re:                                                                §
                                                                                   §
             DEAN, PEGGY ANNETTE                                                   §         Case No. 14-23526
                                                                                   §
                                    Debtor                                         §

                                                    SUMMARY OF TRUSTEE'S FINAL REPORT
                                                    AND APPLICATIONS FOR COMPENSATION


                          The Final Report shows receipts of                                                                 $                     24,632.86
                          and approved disbursements of                                                                      $                     11,427.12
                                                                   1
                          leaving a balance on hand of                                                                       $                     13,205.74


                        Claims of secured creditors will be paid as follows:


                                                                                        NONE


                        Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                                                            Interim Payment             Proposed
                                   Reason/Applicant                             Total Requested             to Date                     Payment
              Trustee Fees: Geoffrey Richards                                  $             3,213.29 $                          0.00 $              3,213.29
              Trustee Expenses: Geoffrey Richards                              $                   4.48 $                        0.00 $                    4.48
              Attorney for Trustee Fees: HEFNER,
              STARK and MARIOS, LLP                                            $           10,643.50 $                 10,643.50 $                         0.00
              Attorney for Trustee Expenses: HEFNER,
              STARK and MARIOS, LLP                                            $               131.50 $                    131.50 $                        0.00
                          Total to be paid for chapter 7 administrative expenses                                             $                       3,217.77
                          Remaining Balance                                                                                  $                       9,987.97

       ____________________
                  1
                     The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
       will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
       maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.

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                      Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                                   NONE


                     In addition to the expenses of administration listed above as may be allowed by the Court,
            priority claims totaling $ 0.00 must be paid in advance of any dividend to general (unsecured) creditors.

                        Allowed priority claims are:


                                                                   NONE


                    The actual distribution to wage claimants included above, if any, will be the proposed payment
            less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

                    Timely claims of general (unsecured) creditors totaling $ 43,291.59 have been allowed and will
            be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
            timely allowed general (unsecured) dividend is anticipated to be 23.1 percent, plus interest (if
            applicable).

                        Timely allowed general (unsecured) claims are as follows:

                                                        Allowed Amount        Interim Payment to
            Claim No.          Claimant                 of Claim              Date               Proposed Payment
                               Quantum3 Group LLC as
            000001             agent for             $             1,374.94 $                0.00 $             317.22
            000002             Discover Bank           $           4,623.99 $                0.00 $           1,066.82
            000003             US BANK N.A.            $           4,648.83 $                0.00 $           1,072.55
            000004             Capital One, N.A.       $           1,879.74 $                0.00 $             433.68
            000005             US BANK N.A.            $           3,141.42 $                0.00 $             724.77
                               Portfolio Recovery
            000006             Associates, LLC         $           4,667.16 $                0.00 $           1,076.78
                               Portfolio Recovery
            000007             Associates, LLC         $           9,438.42 $                0.00 $           2,177.57
                               Portfolio Recovery
            000008             Associates, LLC         $         13,517.09 $                 0.00 $           3,118.58




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                       Total to be paid to timely general unsecured creditors                $                9,987.97
                       Remaining Balance                                                     $                     0.00


                    Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
            be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
            have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
            applicable).

                        Tardily filed general (unsecured) claims are as follows:


                                                                   NONE


                   Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
            subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
            allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
            subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).

                   Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
            subordinated by the Court are as follows:


                                                                   NONE


                                                     Prepared By: /s/Geoffrey Richards
                                                                                 Bankruptcy Trustee


            Geoffrey Richards
            Chapter 7 Bankruptcy Trustee
            PO Box 579
            Orinda, CA 94563


            STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
            Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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